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                 EXHIBIT B-087
       Case 1:23-cv-03721-SCJ Document 1-98 Filed 08/21/23 Page 2 of 3

                                                                                 FILEDINOFFICE



IN RE SUBPOENAS FROM MAY 2022 )                              Case No. 2022-EX-000024
SPECIAL PURPOSE GRAND JURY    )

SUBPOENAS ISSUED TO: Presidential Nominee Electors Mark Amick, Joseph
Brannan, Brad Carver, Vikki Consiglio, John Downey, Carolyn Fish, Kay Godwin,
Cathy Latham, David Shafer, Shawn Still, CB Yadav

               OPPOSITION TO STATE'S MOTION FOR LEA VE
                         TO FILE UNDER SEAL

       NOW COME the above-referenced subpoena recipients and join the Atlanta

Journal Constitution's opposition to the State's August 1, 2022 Motion for Leave to

File Under Seal. 1

                                        Respectfully submitted,




Holly . ·erson                                        Kimberly Bourroughs Debrow
Georgia Bar No. 579655                                Georgia Bar No. 231480
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Atlanta, GA 30305                                     kimberly@debrowlaw.com
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404-353-2316

                               Counsel for Nominee Electors

1 Sealing is disfavored, and the DA's   Motion does not provide much information in support of its
request to file under seal. The DA's Office has provided slightly more information in
communications with this Court and the undersigned, but not enough for the undersigned to
provide more specifics regarding their objection(s) to sealing at this time. The undersigned reserve
the right to raise additional specific objections (or to withdraw their objection) if the DA's Office
goes forward with the Motion and its factual basis is developed.

                                                  1
      Case 1:23-cv-03721-SCJ Document 1-98 Filed 08/21/23 Page 3 of 3




                         CERTIFICATE OF SERVICE

      I hereby certify that I have filed the foregoing Opposition to State's Motion

for Leave to File Under Seal with the Clerk of Court of the Fulton County Superior

Court and that date-stamped copy will be hand-delivered to the Fulton County

District Attorney's Office today.

             Respectfully submitted this the 30th day of August, 2022.




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